                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  GREEN BAY DIVISION


TERRI GREEN

                Plaintiff,
                                                             Case No.: 19-cv-1029
         v.

NEUROSPINE CENTER OF WISCONSIN, S.C.

                Defendant


                                STIPULATION OF DISMISSAL


         The parties hereby stipulate that, pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), all claims

and causes of action may be dismissed upon the merits, with prejudice and without costs to either

party.

         Dated: October 9, 2019               By:_s/ Scott S. Luzi ________________
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